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                                        IN THE UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF COLUMBIA


             UNITED STATES OF AMERICA                        )
                                                             )
                     v.                                      )     Case No. 1:21-cr-00582 (CRC)
                                                             )
             MICHAEL A. SUSSMANN,                            )
                                                             )
                              Defendant                      )


                                            DECLARATION OF JOHN PODESTA

                     John Podesta deposes and states as follows:

                     1.       I am competent to provide the following testimony in connection with the

             Government’s Motion to Compel the Production of Purported Privileged Communications

             Withheld by Non-Party Entities. This declaration provides facts related to certain issues raised in

             the Motion.

                     2.       Throughout the 2016 Presidential campaign, I served as Chairman and President

             of Hillary for America (HFA), the Presidential campaign of Hillary Clinton (incorporated as a

             New York non-profit corporation, HFACC, Inc). Although HFA is no longer an active

             campaign, I continue to serve as Chairman as it winds up its affairs.

                     3.       At all times relevant to the government’s pending motion to compel and

             continuing through August 2021, Perkins Coie served as general counsel to HFA. To my

             knowledge, Perkins Coie has consistently maintained the confidentiality of documents and

             information covered by the attorney-client privilege and the attorney-work-product doctrine.

                     4.       HFA asserts its attorney-client privilege and the attorney-work-product protection

             with respect to all documents and information under the control of Perkins Coie or any of its
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             consultants, including Fusion GPS. HFA is not waiving any of its privileges, and it opposes the

             government’s motion to compel filed on April 6, 2022.

                     I declare under penalty of perjury that the foregoing is true and correct.

             Executed on April 18, 2022.


                                                       ________________________________
                                                       John Podesta




                                                               2
